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EXHIBIT B
                       Case 1:17-cv-02989-AT Document 558-2 Filed 07/30/19 Page 2 of 6
7/29/2019       Marilyn Marks on Twitter: "Georgia voters should be disgusted by this story. We submitted the brief but haven't spoken in court about it y...



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                       @MarilynRMarks1


     #       Georgia voters should be disgusted by this story. We
             submitted the brief but haven't spoken in court about it
     o       yet.


     B              R. Robin McDonald @rrobinmcdonald • Jul 25

              Lawyers in GA federal paper ballot case accuse Secretary of State, governor of
              destroying evidence at.law.com/dg6mmY?cmp=sha... via @DailyReport
     P        @GARepublicans @GeorgiaDemocrat @MarilynRMarks1 @FairFightAction #gapol                         Relevant people
              #galegal @BrianKempGA @LawyersComm @StateBarofGA ©lawtwitter

     0                                                                                                                 Marilyn Marks
                                                                                                                                                               Follow
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             6:47 AM    Jul 26, 2019    Twitter for iphone
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                                                                                                                        Dogged reporter/@ALMMedia. True crime
                       Karen Myatt @karenamyatt         Jul 26                                            ^             author. GA courts/judicial system and bad
                       Replying to ©MariiynRMarksl and ©pakitaieone                                                    judges are my beat. Inkstained wretch in a

                       It's a GOP thing, it seems. Mueller documented the destruction of evidence by                    cyber world. Fedora optional.
                       WF1 witnesses. It's why he couldn't further his conclusions about conspiracy.
                       Records were disappeared.
                                                                                                                        Daily Report
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                       cb @seawiz2 • Jul 26
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                                                                                                              T rends for you
                       Not surprised. You think this is not happening in several other GOP controlled
                       states?
                                                                                                              Trending in Georgia

                                                                                                              #gilroyshooting
                                                                                                              22. 6K Tweets

                       A Voice For Ail GA @AVoiceForAIIGA • Jul 26
                       Replying to ©MariiynRMarksl                                                            #HobbsAndShaw
                       Absolutely Disgusting but not surprising about disgraceful corrupt illegitimate        In theaters this Friday. Get tickets now.
                       ©GovKemp & ©GaSecofState Please donate here                                            12 Promoted by Hobbs & Shaw
                       coalitionforgoodgovemance.org/donate/ to support lawsuit filed by
                       @CoaiitionGoodGv for #HandMarkedPaperBa!lots for Georgia. Thank You
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                                                                                                              79. 3K Tweets

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                                              c>! coalitionforgoodgovernance.org
                                                                                                              8,627 Tweets


                                                                                                              Trending in Georgia
                                        O 10
                                                                                                              #GunControlNow
                                                                                                              41 ,2K Tweets
                       Mark J Rudd @rudd1mark          Jul 26
                       Replying to ©MariiynRMarksl and ©MaicolmNance                                          Show more
                       Republicans are the worst people on earth in Georgia or where ever there
                       doing unlawfully, to win in there need to win and don't really care about
                       consequences.
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                       Ellen Behm ©ellenbehm • Jul 26
                        Replying to ©MariiynRMarksl and ©MaicolmNance

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7/29/2019        Marilyn Marks on Twitter: "Georgia voters should be disgusted by this story. We submitted the brief but haven't spoken in court about it y...

                     As a Georgia voter, I am disgusted by this story.
                                                                                                               Search Twitter
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                     K.T. @Progressivemrs • Jul 26
                     Replying to @MariiynRMarks1 and ©MaicoimNance
                     Great work!

     #

                     Sundevil Doug @moen4955 • Jul 26
     ©                Replying to ©MarilynRMarksl and @MaicolmNance
                      Nothing coming out of Georgia politics would surprise me, nothing. There's a
                      reason Trumpers love the South, their leader fits right in.
     S


     n                AbbieX @AbbieX • Jul 26                                                       V



                      Replying to @MariiynRMarks1 and ©MalcoimNance
                      Where are the millions in Atlanta. ..ya know.. ..like PR??
     0

                      RedUrs          @redurs73 • Jul 27
                      Replying to ©MarilynRMarksl and ©regina/4

     ©                Trust me, we are not only disgusted, but we are outraged. That election was
                      stolen and voters right were suppressed. We aren't sitting idly by crossing our
                      fingers that it won't happen again. The FIGHT continues!

                      o


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 https://twitter.com/MarilynRMarks1/status/1154704720596000768                                                                                               2/2
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7/29/2019        Marilyn Marks on Twitter: "After @rrobinmcdonald broke this story, national media picked it up and published it widely. AP, CNN, Bloomb...


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                      Marilyn Marks                                                                    Relevant people
                      @MarilynRMarks1

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     #       After @rrobinmcdonald broke this story, national media                                              @MarilynRMarks1
                                                                                                                 Election integrity activist. Political opinions
              picked it up and published it widely. AP,                                                          solely my own.
     O       CNN, Bloomberg, etc. Good reporting, Robin!
                                                                                                                 R. Robin McDonald
                                                                                                                                                             Follow   :
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     s             R. Robin McDonald @rrobinmcdonald • Jul 26
                                                                                                                  Dogged reporter/@ALMMedia. True crime
               THIS: Lawyers in GA paper ballot case accuse Gov, Sec of State of destroying                      author. GA courts/judicial system and bad
               evidence that could reveal hacking, other fails at.law.com/NUe45o?cmp=sha... via                  judges are my beat. Inkstained wretch in a
     n         @DailyReport @TheVotingNews @LawyersComm @FairFightAction                                          cyber world. Fedora optional.
               @GARepublicans @TindallSara @marilynrmarks1 @CommonCauseGA @ACLU

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                                                                                                        Al Sharpton
                                                                                                        79. 3K Tweets


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                                                                                                        #GunControlNow
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7/29/2019         Marilyn Marks on Twitter: "The GA SOS (Raffensperger and Kemp before him) destroyed key evidence in our @CoalitionGoodGv electio...


                        Thread                                                                             Search Twitter




                        Marilyn Marks
                        @M'arilynRMarks1


     #        The GA SOS (Raffensperger and Kemp before him)
              destroyed key evidence in our
     o        @Coa!itionGoodGv
               election security lawsuit. They started destroying
     s        evidence 4 days after we sued them in 2017 and haven't
              stopped. We filed this brief on Thursday. ...
     n        altionforgoodgovernance.sharefiie.com/d-
              sfe3f30c6a72...
     0        2:16 PM    Jul 27, 2019   Twitter Web App



              118Retweets       142 Likes



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                        Marilyn Marks @MarilynRMarks1         Jul 27
                        Replying to WMariiynRMarksl                                                   Relevant people
                        The Judge has ordered the State to respond by Tuesday to the facts we
                        present on the State's destruction of evidence.                                       Marilyn Marks
                                                                                                                                                     Follow
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                                        ti 26          o 46
                                                                                                              Election integrity activist. Political opinions
                                                                                                              solely my own.
                        Marilyn Marks @MarilynRMarks1         Jul 27
                        Once Georgia voters start connecting the MANY dots, they will be very
                        concerned about the legitimacy of any GA election conducted with electronic           Coalition for Good Gover...
                                                                                                                                                      Follow    ;
                        ballots. Voters don't know 90% of the story yet. Will they ever? It depends           @CoalitionGoodGv
                        whether there is support for investigative reporting.
                                                                                                              Citizen engagement for self-governance

                                        'CI 42                                                                through fair and transparent elections.
                                                                                                              Suing Georgia to force paper ballot
                                                                                                              elections.
                        Marilyn Marks @MarilynRMarks1 • Jul 27
                        Traditional media orgs in GA are not engaged in investigative reporting on
                        what is being learned about GA's elections in this lawsuit. What will be
                                                                                                      Trends for you
                        required for that to change?

                                                       o 83                                           Trending in Georgia

                                                                                                      #gilroyshooting
                                                                                                      22. 6K Tweets
                        A Voice For All GA @AVoiceForAIIGA • Jul 27
                         Replying to @MarilynRMarks1 and @Coa!itionGoodGv
                                                                                                      #HobbsAndShaw
                         Donate here to support @CoalitionGoodGv 's strong lawsuit for
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                         #HandMarkedPaperBa!iots for Georgia here
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                         charges for ILLEGITIMATE ©GovKemp ©GaSecofState & other officials.
                         #GAPo! AProtecfOurElections #SecureOurtlections                              Trending in Georgia

                                                                                                      Al Sharpton
                                                                                                      79. 3K Tweets
                                              Donate to the Coalition for Good Governance
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                                                                                                      #GunControlNow

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                         Replying to ©MarilynRMarksl ©jennycohnl and @CoaiitionGoodGv
                         Shouldn't be a surprise to anyone.                                           Show more

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7/29/2019        Marilyn Marks on Twitter: "The GA SOS (Raffensperger and Kemp before him) destroyed key evidence in our @CoalitionGoodGv electio...

                     A Voice For All GA ©AVnireForAIIGA - Jul 28                               v"
                     Replying to @MarilynRMarksl and @CoalitionGoodGv                                   Search Twitter
                     #MiriiTrump ILLEGITIMATE @GovKemp committed #ObstructionOfJustice and
                     other crimes. Donate here coalitionforgoodgovernance.org/donate/ to
                     support ©CoalitionGoodGv 's strong Federal lawsuit for
                     GHandMarkedPaperBallots for Georgia that should lead to indictments for
                      Kemp & @GaSecofState #GAPoi

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                      Replying to <§jMariiynRMarks1 and @>CoalitionGoodGv
                      ILLEGITIMATE @GovKemp committed #ObstructionOfJustice and may wind up
     m                in prison along with ©GaSecofState and other election officials. Donate to
                      support strong Federal lawsuit for #HandMarkedPaperBallots for Georgia filed
                      by ©CoalitionGoodGv here coalitionforgoodgovernance.org/donate/ #GAPo!




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